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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


    ABC CORPORATION I,
    ABC CORPORATION II,                               Case No. 1:20-cv-4806

                         Plaintiffs,                  Judge Thomas M. Durkin

          v.                                          Magistrate Judge Jeffrey Cole

    THE PARTNERSHIPS AND
    UNICORPORATED ASSOCIATIONS
    IDENTIFIED ON SCHEDULE A,

                         Defendants.



        REPLY IN SUPPORT OF PLAINTIFFS’ MOTION FOR RETURN OF BOND
         Plaintiffs respectfully submit this Reply in support of their motion for return of bond (Dkt.

653, “Motion”).1

                                 PRELIMINARY STATEMENT

         Defendants cannot have it both ways—they cannot delay seeking relief and allege that

Plaintiff’s Motion is “premature,” yet continue to conclude that they have been wrongfully

restrained and enjoined by the temporary restraining order and Prior PIs entered by this Court. (See

Dkt. 655, “Opp’n” at 2–5.) There is simply no reason for Plaintiffs’ funds to remain in escrow with

the Court until Defendants decide to seek relief at their own convenience, especially where

Defendants cannot demonstrate an actual and quantifiable injury given, among other reasons, their

undisputed violations of the Prior PIs (see Dkt. 444).




1
 Unless otherwise indicated, all defined terms in this reply have the same meaning as set forth in
Plaintiffs’ opening memorandum (Dkt. 654, the “Memorandum” or “Mem.”).
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                                         ARGUMENT

       Contrary to Defendants’ assertions (see Opp’n at 4–5), the fact that the Prior PIs were

overturned by the Federal Circuit Decisions does not render the Prior PIs “wrongful.” Nor does it

automatically entitle Defendants to damages. See Nat’l Collegiate Athletic Ass’n v. Governor of

New Jersey, 939 F.3d 597, 607 (3d Cir. 2019) (collecting cases). The burden is squarely on

Defendants to prove damages suffered as a result of the entry of the Prior PIs. See Triumph v.

Ward, No. 11 C 7927, 2011 WL 6754044, at *2 (N.D. Ill. Dec. 22, 2011). Defendants offer nothing

more than conclusory assertions and decline—again—to offer any legally sufficient showing of

damages. (See Dkt. 651.) Defendants’ talismanic invocation of statements such as “it is clear that

[they] were wrongfully enjoined” (Opp’n at 4) and that “there can be no question that [they were]

wrongfully restrained” (Opp’n at 5) simply fail to establish damages.

       In fact, Defendants have steadfastly deferred seeking relief (Dkt. 651) and attempt to use

this self-imposed delay to frame Plaintiffs’ Motion as “premature”. (See Opp’n at 2–3; see also

Mot. at 3–4.) But this cannot divert attention from Defendants’ failure to put forward any evidence

that they were “wrongfully enjoined or restrained.” (See Opp’n at 2–3; see also Mot. at 3–4).

Defendants simply fail to address that this Court has discretion to release Rule 65(c) bonds where,

as here, “there is a good reason for not requiring the plaintiff to pay.” Coyne-Delany Co. v. Cap.

Dev. Bd. of State of Ill., 717 F.2d 385, 391–92 (7th Cir. 1983). Speculative and self-serving

assertions of lost profits supposedly attributable to the Prior PIs does not entitle Defendants to

recover on the bonds (see Opp’n at 5–6 (citing Dkt. 576)). Triumph, 2011 WL 6754044, at *5

(declining to award damages where claim based solely on unsupported assertions).

       Most telling, however, is Defendants’ continued silence as to their disregard and violation

of the Prior PIs. (See Mot. at 4–5.) With multiple opportunities to do so (including here),




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Defendants have not disputed that they were affiliated with other Amazon storefronts identified

by Plaintiffs as selling infringing hoverboards and that they transferred assets from their Amazon

accounts—conduct explicitly enjoined by the Prior PIs. (See, e.g., Dkt. 370, 444.) The fact that

Defendants continued to sell infringing hoverboards under the guise of affiliated Amazon

storefronts undermines any potential claim of a legally cognizable harm compensable by monies

set aside by the bonds. See Coyne-Delany Co., 717 F.2d 385 at 391–92.

        Accordingly, now that the Prior PIs are no longer in place, and because Defendants cannot

demonstrate an actual and quantifiable injury as a result of the Prior PIs, the bonds have served

their purpose and the Court should exercise its discretion and order the return of the escrowed

funds to Plaintiffs.

                                        CONCLUSION

        For the foregoing reasons, and as outlined in Plaintiffs’ opening Memorandum, Plaintiffs

respectfully request this Court to grant their Motion for Return of Bond.



Dated: April 25, 2023                            Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on April 25, 2023, I electronically filed the foregoing with the

Clerk of Court using the CM/ECF system, and service was perfected on all counsel of record and

interested parties through this system, which will deliver a true and correct copy of the foregoing

documents via CM/ECF.



Dated: April 25, 2023                        Respectfully submitted,

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